Case 2:02-Cr-20165-BBD Document 622 Filed 08/30/05 Page 1 of 5 Page|D 875

 

IN THE UNITEI) sTATEs DISTRICT coURT 'W='D BY ....._ D.c.
FoR THE wEsTERN DISTRICT 0F TENNESSEE
wEsTERN DIVISION 05 AUG 30 PH h= | 0
UNITED sTATEs oF AMERICA, )
Plaintiir, ) TPOW.S tt GOU_D
) leaués perlman
vs. ) criminal No. 02-2016@ f` § "~ MS
MICHAEL ELLIoT coLE, ) 05-20290
)
Defendant. )

 

AGREED ORDER RELEASING RESTRAINED ASSETS

 

ln the lndictment in this case, at Count 89 the government alleged that various assets of
Michel Elliot Cole were subject to forfeiture Thereafter, pursuant to motions by the
government, the Court entered various restraining Orders, including the “Second Amended Post-
Indictment Restraining Order” which was entered in this case on January 15, 2003, as Docket
Entry No. l l7.

Pursuant to agreement of the government and Michael Elliot Cole, all Restraining Orders
heretofore entered in this case involving Michael Elliot Cole are to be canceled and all assets of
Michael Elliot Cole presently restrained are to be released

One of the restrained assets is referred to the “Second Amended Post-Indictment
Restraining Order” is known as the “Durango Ranch” [see page 46, paragraph a(l)]. This real
property is owned by a Texas Limited Partnership; Stacy Layne Beavers and Michael Cole are
the general partners while Shelly Titterington, Ryan Titterington, Darren Titterington and
Richard Titterington II are the limited partners

Any interest of Shelly Titterington, Ryan Titterington, Darren Titterington and Richard

Titterington II, and Stacy Beavers in,t,b,ep\@rm%ngo Ranch that is restrained should also be

rid j

Thts document entered on the docket she l @ZZ
with Hu|e 55 and/or 32(|:)) FRCrP on

Case 2:02-Cr-20165-BBD Document 622 Filed 08/30/05 Page 2 of 5 Page|D 876

Therefore, by agreement of the parties, it is hereby ORDERED that
(l) The Court’s “Second Amended Post-Indictment Restraining Order” is withdrawn insofar
as it restrains any assets of Michael Elliot Cole; and
(2) There is no restraint upon the interests of Stacy Beavers, Shelly Titterington, Ryan
Titterington, Darren Titterington and Richard Titterington II in the real property known
as the “Durango Ranch”.

tr rs so 0RDERED this the 30*"day of Augusr, 2005.

  

U ed tates District Judge

Case 2:02-Cr-20l65-BBD Document 622 Filed 08/30/05 Page 3 of 5 Page|D 877

APPROVED FOR ENTRY:

B,,Qa%@¢»~/

D’AN L. NEWsoM 1376

Senior L1t1gation Counsel

U. S. Attorney’ s Office
Western District of Tennessee ,

B,, /CW“M

WISTOPHER E. COTTON, Esq.
Assistant United States Attorney
U. S. Attorney’ s Offlce
Western District of Tennessee

Byl M¢'r~ /<Q wm
wILLIAM D. MASSEY 67
Attorney for Michael Elliot Cole

 

Attorney for Michael Elliot Cole

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 622 in
case 2:02-CR-20165 was distributed by faX, mail, or direct printing on
September 7, 2005 to the parties listed.

 

Robert G. Chadwell

MCKAY CHADWELL PLLC
600 University St.

Ste. l 60 l

Seattle, WA 98101

Stephen Ross Johnson

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

Knoxville7 TN 37901--1 l2

Richard M. Carter

MARTIN TATE MORROW & MARSTON
6410 Poplar Ave.

Ste. 1000

l\/lemphis7 TN 38119

Robert W. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

Knoxville7 TN 37901

David E. Wilson

MCKAY CHADWELL, PLLC
600 University

Ste l 60 l

Seattle, WA 98101

Michael B. Neal

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

l\/lemphis7 TN 3 8103--246

Case 2:02-Cr-20l65-BBD Document 622 Filed 08/30/05 Page 5 of 5 Page|D 879

Glenn Reid

WYATT TARRANT & COl\/[BS
P.O. Box 775000

1\/1emphis7 TN 38177--500

Michael R. Koblenz

MOUND COTTON WOLLAN & GREENGRASS
One Battery Park Plaza

New York7 NY 10004--148

David W. Kenna

MOUND COTTON WOLLAN & GREENGRASS
One Battery Park Plaza

New York7 NY 10004--148

Wade V. Davies

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

Knoxville7 TN 37901

Dan Newsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Christopher E. Cotten

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Kemper B. Durand

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/1emphis7 TN 38103--552

Honorable Bernice Donald
US DISTRICT COURT

